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                 Proposed Counsel for Debtor-in-Possession
             6   Mini Mania, Inc.
             7
             8                            UNITED STATES BANKRUPTCY COURT
             9               EASTERN DISTRICT OF CALIFORNIA - SACRAMENTO DIVISION
           10
           11    In re                                       )       Case No.: 2024-22456-11
                                                             )
           12                                                )       DCN: SRF 1
                 Mini Mania, Inc.                            )
           13                                                )       Chapter 11
                                                             )
           14                      Debtor.                   )       MOTION FOR AUTHORITY TO USE
                                                             )       CASH COLLATERAL ON AN INTERIM
           15                                                )       AND FINAL BASIS; REQUEST FOR
                                                             )       PRELIMINARY HEARING
           16                                                )
                                                             )       Date : To be set
           17                                                )       Time :
                                                             )       Place :
           18
           19            To the Honorable Bankruptcy Judge:
           20            Comes Now the Debtor and Debtor-in-Possession, Mini Mania, Inc. (“Mini” or
           21    the “Debtor”), with its Motion.
           22            Mini sells parts and provides certain services such as engine rebuilds for Mini
           23    Cooper vehicles. Mini was started because there was a need for replacement parts
           24    here in the United States for the classic British Mini Cooper. Mini Mania also provides
           25    technical expertise to the Classic Mini community. Over the years, the Debtor
           26    expanded its offerings to provide parts for related classic British car marques (e.g.
           27    Triumph, Mini, Jaguar, Morris Minor and the Austin Bugeye Sprite and MG) that use
           28    many of the same parts that the Mini Cooper used.


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             1         The concurrently filed First Day Declaration discusses the Debtor’s operating and
             2   financial difficulties and solutions the Debtor intends to implement to reorganize. The
             3   difficulties leading to the bankruptcy filing include a series of Merchant Cash Advance
             4   (“MCA”) transactions that killed the Debtor’s cash flow and monies and starved the
             5   Debtor of the ability to satisfy customer orders and to replenish its inventory. The
             6   Debtor has significantly reduced expenses and is working with suppliers to bring in
             7   new inventory.
             8         The Debtor intends to remain in business. It does not intend to sell its assets but
             9   instead intends to propose a plan of reorganiztion.
           10          Many entities will assert security interests in cash collateral. The Debtor believes
           11    that Bank of America holds the senior lien in cash collateral. In its Memorandum, the
           12    Debtor outlines the adequate protection offered to all entities that may actually hold
           13    security interests in cash collateral and that are not effetively unsecured. For present
           14    purposes, the Debtor assumes (1) Bank of America is fully secured and that (2) its
           15    financing statement was properly recorded and perfected, (3) is valid and (4) that Bank
           16    of America’s lien is the senior lien in cash collateral.
           17          Mini seeks authority to use its monies to operate its business, and to do so first
           18    on an interim basis and then on a final basis. If the Debtor cannot use its cash
           19    collateral, it would need to cease its business operation and let employees go.
           20          The Debtor’s projection (Exhibit “C” to the First Day Declaration) reflects
           21    projected receipts, disbursements, net operating cash flows and beginning and ending
           22    cash balances. Total projected monies will increase during the projected period.

           23          The Debtor’s business typically has few to no receivables as customers pay

           24    before products are delivered.

           25          Pursuant to L.B.R. 4000-1, the Motion, Memorandum, the First Day Declaration

           26    and the exhibits are being served on the twenty largest unsecured creditors.

           27          The Debtor requests that the Court take the following actions:

           28          1.     Set a hearing on this Motion within two days of the filing of the petition;


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             1        2.    Enter an order authorizing the Debtor to use cash collateral on an interim
             2              basis per the projection attached to the First Day Declaration together with
             3              the requested variances, rollover provisions and application of excess
             4              revenues to costs of goods sold;
             5        3.    Set a hearing on use of cash collateral on a final basis;
             6        4.    Grant to entities asserting interests in the Debtor’s monies, replacement
             7              liens in collateral of the estate as discussed in the Memorandum; and
             8        5.    Such further relief as is appropriate and consistent with this Motion.
             9   Dated: June 4, 2024                           THE FOX LAW CORPORATION, INC.
           10
                                                               /s/ Steven R. Fox
           11                                                  Steven R. Fox, proposed counsel for Mini
                                                               Mania, Inc. Debtor-in-Possession
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